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                                                                    6 Counsel for Debtor
                                                                      Western Community Energy
                                                                    7

                                                                    8                       UNITED STATES BANKRUPTCY COURT

                                                                    9                        CENTRAL DISTRICT OF CALIFORNIA

                                                                   10                                RIVERSIDE DIVISION

                                                                   11 In re                                     Case No. 6:21-bk-12821-SY
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                                                Fax 714-966-1002




                                                                   12 WESTERN COMMUNITY ENERGY,                 Chapter 9
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13                          Debtor.          PLAN FOR THE ADJUSTMENT OF
                                                                                                                DEBTS OF WESTERN COMMUNITY
                                                                   14                                           ENERGY DATED MAY 5, 2022

                                                                   15                                           Hearing Date, Time and Location:
                              Tel 714-966-1000




                                                                                                                Date: April 28, 2022
                                                                   16                                           Time: 1:30 p.m.
                                                                                                                Ctrm: 302
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                                                                        1367667.1                                      PLAN FOR THE ADJUSTMENT OF DEBTS
                                                                                                                                        DATED MAY 5, 2022
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                                                                    1             Western Community Energy (the "Debtor" or "WCE"), a joint power authority and

                                                                    2 debtor under chapter 9 of the Bankruptcy Code, hereby proposes the following Plan for

                                                                    3 the Adjustment of Debts (the "Plan") pursuant to section 941 of the Bankruptcy Code.1

                                                                    4             Please refer to the accompanying Disclosure Statement for a discussion of the

                                                                    5 Debtor's history, operations, and financial condition, and for a summary and analysis of

                                                                    6 this Plan and other important information. The Debtor encourages you to read this Plan

                                                                    7 and the Disclosure Statement in their entirety before voting to accept or reject this Plan.

                                                                    8 No other materials other than the Disclosure Statement and the associated Exhibits have

                                                                    9 been approved for use in soliciting acceptance or rejections of this Plan.

                                                                   10 I.          DEFINITIONS, INTERPRETATION AND RULES OF CONSTRUCTION

                                                                   11             A.       Definition
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                                                Fax 714-966-1002




                                                                   12                      1.      Administrative Claim means a claim allowed under section 503(b) and
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13                              entitled to priority under section 507(a)(2) to the extent made

                                                                   14                              applicable in Chapter 92.

                                                                   15                      2.      Allowed means a Claim that:
                              Tel 714-966-1000




                                                                   16                              a.       Is asserted in a proof of Claim filed in compliance with section

                                                                   17                                       501 and any applicable order of the Bankruptcy Court and as

                                                                   18                                       to which (i) no objection has been filed within the deadline

                                                                   19                                       established pursuant to Section VIII.A., (ii) the Bankruptcy

                                                                   20                                       Court has entered a Final Order allowing all or a portion of

                                                                   21                                       such Claim (but only to the extent allowed), or (iii) the

                                                                   22                                       Bankruptcy Court has entered a Final Order under section

                                                                   23                                       502(c) estimating the amount of the Claim for purposes of

                                                                   24                                       allowance;

                                                                   25

                                                                   26       1
                                                                                The definitions of capitalized terms used throughout this Plan are set forth in Section I.A.
                                                                   27       2
                                                                          The Debtor does not believe there are any Administrative Claims applicable in Chapter 9, but
                                                                      Administrative Claims are defined and included in the Plan in the event that the Court finds that
                                                                   28 Administrative Claims exist against the Debtor.
                                                                        1367667.1                                                2           PLAN FOR THE ADJUSTMENT OF DEBTS
                                                                                                                                                              DATED MAY 5, 2022
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                                                                    1                      b.       Is subject to a stipulation between the Debtor and the holder of

                                                                    2                               such Claim providing for the allowance of such Claim; or

                                                                    3                      c.       Is a Professional Claim.

                                                                    4               3.     Ballot means the ballot(s), in the form(s) approved by the Bankruptcy

                                                                    5                      Court in the Plan Solicitation Order accompanying the Disclosure

                                                                    6                      Statement and provided to each holder of a Claim entitled to vote or

                                                                    7                      accept or reject this Plan.

                                                                    8               4.     Bankruptcy Code means title 11 of the United States Code. Unless

                                                                    9                      otherwise indicated, references in this Plan to "section _____" are to

                                                                   10                      the specifically identified section of the Bankruptcy Code.

                                                                   11               5.     Bankruptcy Court means the United States Bankruptcy Court for the
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                                                                   12                      Central District of California, Riverside Division, or such other court
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13                      that lawfully exercises jurisdiction over the Chapter 9 Case.

                                                                   14               6.     Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure.

                                                                   15                      Unless otherwise indicated, references to "Bankruptcy Rules ____"
                              Tel 714-966-1000




                                                                   16                      are to the specifically identified rule of the Federal Rules of

                                                                   17                      Bankruptcy Procedure.

                                                                   18               7.     Bar Date means the applicable date by which a particular proof of

                                                                   19                      Claim must be filed, as established by this Plan or the Bankruptcy

                                                                   20                      Court.

                                                                   21               8.     Business Day means a day other than a Saturday, a Sunday, or any

                                                                   22                      other day on which banking institutions in Los Angeles, California, are

                                                                   23                      required or authorized to close by law or executive order.

                                                                   24               9.     CAISO means the California Independent System Operator

                                                                   25               10.    Cash means cash and cash equivalents, including, without limitation,

                                                                   26                      withdrawable bank deposits, wire transfers, checks, and other similar

                                                                   27                      items.

                                                                   28
                                                                        1367667.1                                    3         PLAN FOR THE ADJUSTMENT OF DEBTS
                                                                                                                                                DATED MAY 5, 2022
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                                                                    1               11.    Chapter 9 Case means the case under chapter 9 of the Bankruptcy

                                                                    2                      Code commenced by the Debtor and styled as In re Western

                                                                    3                      Community Energy, Case no. 6:21-bk-12821-SY, currently pending in

                                                                    4                      the Bankruptcy Court.

                                                                    5               12.    Claim has the meaning set forth in section 101(5).

                                                                    6               13.    Claimant means a person or entity with a Claim.

                                                                    7               14.    Class means any group of Claims classified herein pursuant to

                                                                    8                      section 1123(a).

                                                                    9               15.    Confirmation Date means the date on which the Bankruptcy Court

                                                                   10                      enters the Confirmation Order.

                                                                   11               16.    Confirmation Hearing means the hearing to be conducted by the
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                                                                   12                      Bankruptcy Court regarding confirmation of this Plan, as such hearing
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                                  Costa Mesa, California 92626




                                                                   13                      may be adjourned, reconvened or continued from time to time.

                                                                   14               17.    Confirmation Order means the order of the Bankruptcy Court

                                                                   15                      confirming this Plan pursuant to section 943.
                              Tel 714-966-1000




                                                                   16               18.    CPUC means the California Public Utilities Commission.

                                                                   17               19.    Creditor means an entity within the meaning of section § 101(10).

                                                                   18               20.    Debtor means Western Community Energy, a joint power authority

                                                                   19                      and debtor in the Chapter 9 Case.

                                                                   20               21.    Debtor’s Accounts means the following accounts: (1) Lockbox

                                                                   21                      Account located at River City Bank ending in 6448, (2) Operating

                                                                   22                      Account located at River City Bank ending in 9572, (3) Flow Account

                                                                   23                      located at River City Bank ending in 2612, and (4) Reserve Account

                                                                   24                      located at River City Bank ending in 0785.

                                                                   25               22.    Disallowed means a Claim, or portion thereof, that: (i) has been

                                                                   26                      disallowed by a Final Order of the Bankruptcy Court; (ii) has been

                                                                   27                      listed by the Debtor in its list of creditors, as it may be amended from

                                                                   28                      time to time, in the amount of $0.00 or an unknown amount, or as
                                                                        1367667.1                                   4        PLAN FOR THE ADJUSTMENT OF DEBTS
                                                                                                                                              DATED MAY 5, 2022
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                                                                    1                      contingent, disputed, or unliquidated, and as to which no proof of

                                                                    2                      claim has been filed by the applicable deadline or deemed timely

                                                                    3                      pursuant to any Final Order of the Bankruptcy Court; (iii) as to which

                                                                    4                      the holder thereof has agreed to be equal to $0.00 or to be

                                                                    5                      withdrawn, disallowed or expunged; or (iv) has not been listed in the

                                                                    6                      list of creditors and as to which no proof of claim has been filed by the

                                                                    7                      applicable deadline or deemed timely pursuant to a Final Order of the

                                                                    8                      Bankruptcy Court.

                                                                    9               23.    Disclosure Statement means the disclosure statement, and all

                                                                   10                      Exhibits and Schedules incorporated therein, that relates to this Plan

                                                                   11                      and that is approved by the Bankruptcy Court pursuant to section
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                                                                   12                      1125, as the same may be amended, modified or supplemented in
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                                  Costa Mesa, California 92626




                                                                   13                      accordance with the Bankruptcy Code.

                                                                   14               24.    Disputed Claim means any Claim or portion thereof that has not

                                                                   15                      become Allowed and that is not Disallowed. In the event that any part
                              Tel 714-966-1000




                                                                   16                      of a Claim is disputed, except as otherwise provided in this Plan, such

                                                                   17                      Claim shall be deemed disputed in its entirety for purposes of

                                                                   18                      distribution under and voting on this Plan unless the Debtor in its sole

                                                                   19                      discretion agrees otherwise. Without limiting the foregoing, a Claim

                                                                   20                      that is the subject of a pending application, motion, complaint,

                                                                   21                      objection, or any other legal proceeding seeking to disallow, limit,

                                                                   22                      reduce, subordinate, or estimate such Claim shall be deemed to be

                                                                   23                      disputed.

                                                                   24               25.    Effective Date means the first Business Day after the Confirmation

                                                                   25                      Date on which the conditions specified in Section XI.B of the Plan

                                                                   26                      have been satisfied or waived.

                                                                   27               26.    Eligibility means the Debtor's eligibility to be a debtor under Chapter 9

                                                                   28                      of the Bankruptcy Code § 109(c) and all ancillary and related
                                                                        1367667.1                                   5        PLAN FOR THE ADJUSTMENT OF DEBTS
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                                                                    1                      pleadings, discovery, hearings, and actions as provided for in the

                                                                    2                      Court’s order entered on September 28, 2021 (Dkt. No. 165).

                                                                    3               27.    Exculpated Party means the Debtor as well as its predecessors,

                                                                    4                      successors, assigns and present and former affiliates and

                                                                    5                      subsidiaries, members, and each of their respective current and

                                                                    6                      former officers, directors, principals, employees, shareholders,

                                                                    7                      members (including ex officio members), partners, agents, financial

                                                                    8                      advisors, attorneys, accountants, investment bankers, investment

                                                                    9                      advisors, consultants, representatives, and other professionals, and

                                                                   10                      any individual or entity claiming by or through any of them, as well as

                                                                   11                      each Partner and each Partner’s predecessors, successors, assigns
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                                                                   12                      and present and former affiliates and subsidiaries, and each of their
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                                                                   13                      respective current and former officers, directors, principals,

                                                                   14                      employees, shareholders, members (including ex officio members),

                                                                   15                      partners, agents, financial advisors, attorneys, accountants,
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                                                                   16                      investment bankers, investment advisors, consultants,

                                                                   17                      representatives, and other professionals, and any individual or entity

                                                                   18                      claiming by or through any of them.

                                                                   19               28.    Final Order means an order to which (a) no timely appeal has been

                                                                   20                      filed challenging the order or, (b) if a timely appeal has been filed, no

                                                                   21                      order staying the effect of the order has been requested or entered. A

                                                                   22                      notice of appeal shall be deemed timely if filed within the time allotted

                                                                   23                      under Bankruptcy Rule 8002.

                                                                   24               29.    General Unsecured Claim means any unsecured Claim that is not (i)

                                                                   25                      an Administrative Claim, (ii) a Professional Claim, (iii) a Secured

                                                                   26                      Claim, or (iv) a Post-Petition Claim.

                                                                   27               30.    Impaired means a Claim that is impaired within the meaning of

                                                                   28                      section 1124.
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                                                                    1               31.    Joint Powers Agreement means that certain agreement titled Joint

                                                                    2                      Powers Agreement effective August 23, 2018 between the Partners.

                                                                    3               32.    Newly Disputed Claim means the claims of the PPA Providers and

                                                                    4                      PFM that the Debtor disputes as specified on the Amended List of

                                                                    5                      Creditors.

                                                                    6               33.    Newly Disputed Claim Bar Date means June 2, 2022, the date by

                                                                    7                      which holders of a Newly Disputed Claim must file a proof of claim or

                                                                    8                      else the holder of such Newly Disputed Claim will be barred from

                                                                    9                      asserting the Newly Disputed Claim and the Newly Disputed Claim

                                                                   10                      will be disallowed and not entitled to any distribution under the Plan.

                                                                   11               34.    Notice of Effective Date shall have the meaning ascribed to such
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                                                                   12                      phrase in Section XII.G of the Plan.
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                                                                   13               35.    Partner or Partners means the parties to the Joint Powers

                                                                   14                      Agreement; specifically the City of Canyon Lake, City of Eastvale,

                                                                   15                      City of Hemet, City of Jurupa Valley, City of Norco, City of Perris, and
                              Tel 714-966-1000




                                                                   16                      City of Wildomar.

                                                                   17               36.    Petition Date means May 24, 2021.

                                                                   18               37.    PFM means Public Financial Management Group.

                                                                   19               38.    Pilot Agreement means the Stipulation By and Between Western

                                                                   20                      Community Energy and Pilot Power Group LLC Regarding Treatment

                                                                   21                      of Claim of Pilot Power Group LLC a copy of which is attached as

                                                                   22                      Exhibit 2 to the Declaration of Andrew Ruiz attached to the

                                                                   23                      concurrently filed First Amended Disclosure Statement With Respect

                                                                   24                      to the First Amended Plan for the Adjustment of Debts of Western

                                                                   25                      Community Energy, and incorporated herein.

                                                                   26               39.    Pilot Power means Pilot Power Group, Inc.

                                                                   27               40.    Plan means this Plan for the Adjustment of Debts, together with all

                                                                   28                      Exhibits hereto, each in their present form or as they may be altered,
                                                                        1367667.1                                   7        PLAN FOR THE ADJUSTMENT OF DEBTS
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                                                                    1                             amended or modified from time to time in accordance with the

                                                                    2                             provisions of this Plan, the Confirmation Order, the Bankruptcy Code,

                                                                    3                             and the Bankruptcy Rules.

                                                                    4                     41.     Plan Exhibits means the pleading titled Exhibits to Plan for the

                                                                    5                             Adjustment of Debts of Western Community Energy and Disclosure

                                                                    6                             Statement Relating Thereto. Unless otherwise stated, any reference

                                                                    7                             contained herein to an "Exhibit" refers to an exhibit appended to the

                                                                    8                             Plan Exhibits.3

                                                                    9                     42.     Plan Solicitation Order means the order by which the Bankruptcy

                                                                   10                             Court approved the Disclosure Statement as containing adequate

                                                                   11                             information for the purpose of dissemination and solicitation of votes
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                                                                   12                             on and confirmation of this Plan and established certain rules,
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                                                                   13                             deadlines, and procedures for the solicitation of votes with respect to

                                                                   14                             and the balloting of this Plan.

                                                                   15                     43.     Post-Petition Claim means any Claim asserted against the Debtor
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                                                                   16                             relating to a debt incurred by the Debtor after the Petition Date

                                                                   17                     44.     PPA Providers means Pioneer Community Energy, One Energy, Ohm

                                                                   18                             Connect and Pacific Gas & Energy.

                                                                   19                     45.     Pre-Confirmation Date Claim means a Claim against the Debtor that

                                                                   20                             arose prior to the Confirmation Date.

                                                                   21                     46.     Professional means each or any accountant, financial advisor, or

                                                                   22                             attorney that has asserted a Professional Claim against the Debtor,

                                                                   23                             including, but not limited to the following professionals: (1) Weiland

                                                                   24                             Golden Goodrich LLP, (2) Best Best & Kreiger, and (3) Municipal

                                                                   25                             Resource Group, LLC.

                                                                   26

                                                                   27
                                                                            3
                                                                                The creditor lists attached may be updated and distributions will only be made on account of bona fide
                                                                   28 Claims and bona fide amounts.
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                                                                    1               47.    Professional Claim means a Claim asserted by a Professional to be

                                                                    2                      paid by the Plan in accordance with the requirements under Chapter

                                                                    3                      9 to payments to Professionals.

                                                                    4               48.    RCB Claim means the three claims filed by River City Bank, Proofs of

                                                                    5                      Claim 7-1, 8-2, and 9-1.

                                                                    6               49.    Rights of Action means any rights, claims, or causes of action owned

                                                                    7                      by, accruing to, or assigned to the Debtor pursuant to the Bankruptcy

                                                                    8                      Code or pursuant to any contract, statute, or legal theory, including,

                                                                    9                      without limitation, any rights to, claims, or cause of action for recovery

                                                                   10                      under any policies of insurance issued to or on behalf of the Debtor.

                                                                   11               50.    River City Bank means the banking institution titled River City Bank at
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                                                                   12                      which the Debtor’s Accounts are located.
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                                                                   13               51.    SCE means Southern California Edison Company.

                                                                   14               52.    SCE Agreement refers to the agreements entered into by and

                                                                   15                      between SCE and the Debtor titled “Settlement Agreement and
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                                                                   16                      Release of Claims” and “Receivables Assignment Agreement”

                                                                   17                      approved by the Court on February 15, 2022 (Dkt. No. 249) and

                                                                   18                      related agreements to implement such settlement agreement

                                                                   19                      including the “Second Receivables Assignment Agreement”. Pursuant

                                                                   20                      to the SCE Agreement, SCE has an Allowed General Unsecured

                                                                   21                      Claim in the amount of $16,138,192.04.

                                                                   22               53.    Secured Claim means a Claim that is secured, in whole or in part, (a)

                                                                   23                      by a lien that is not void or otherwise subject to avoidance or

                                                                   24                      subordination under the Bankruptcy Code or applicable non-

                                                                   25                      bankruptcy law, or (b) as a result of rights of setoff under section 553,

                                                                   26                      but in any event only to the extent of the value, determined in

                                                                   27                      accordance with section 506(a), of the holder's interest in the Debtor's

                                                                   28
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                                                                    1                         interest in property or to the extent of the amount subject to such

                                                                    2                         setoff, as the case may be.

                                                                    3                  54.    Unimpaired means a Claim that is not Impaired.

                                                                    4                  55.    WRCOG means Western Riverside Council of Governments.

                                                                    5           B.     Rules of Construction

                                                                    6           The following rules of construction apply to this Plan: (a) unless otherwise

                                                                    7 specified, all references in this Plan to "Sections" and "Exhibits" are to the respective

                                                                    8 Sections in or Exhibits to this Plan, as the same may be amended or modified from time to

                                                                    9 time; (b) the headings in this Plan are for convenience of reference only and do not limit or

                                                                   10 otherwise affect the provisions of this Plan; (c) words denoting the singular number

                                                                   11 include the plural number and vice versa; (d) the rules of construction set forth in Section
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                                                                   12 102 of the Bankruptcy Code apply; (e) in computing any period of time prescribed or
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                                                                   13 allowed by this Plan, the provisions of Bankruptcy Rule 9006(a) apply; and (f) the words

                                                                   14 "herein," "hereof," "hereto," "hereunder," and others of similar import refer to this Plan as a

                                                                   15 whole and not to any particular Section, subsection, or clause contained in this Plan.
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                                                                   16 II.       CLASSIFICATION AND TREATMENT OF CLAIMS UNDER THE PLAN

                                                                   17           A.     General Overview

                                                                   18           As required by the Bankruptcy Code, the Plan classifies Claims in various Classes

                                                                   19 according to their right to priority. The Plan states whether each Class of Claims is

                                                                   20 Impaired or Unimpaired. The Plan provides the treatment each Class will receive. In no

                                                                   21 event shall any creditor receive more than the creditor’s Allowed Claim, plus interest, to

                                                                   22 the extent provided herein.

                                                                   23           Unless otherwise expressly stated in the Plan or provided for by Court order, the

                                                                   24 treatment of Allowed Claims under the Plan supersedes any agreements or rights the

                                                                   25 holders of those Claims may have in or against the Debtor or its assets and is in full

                                                                   26 satisfaction of the legal, equitable, and contractual rights of the holders of the Claims.

                                                                   27           Unless the Plan provides otherwise, no distributions will be made and no rights

                                                                   28 retained on account of any Claim that has not become an Allowed Claim.
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                                                                    1           The claims bar date in this case was October 1, 2021 [Dkt. 134].

                                                                    2           B.    Treatment and Deadline for the Assertion of Administrative Claims and

                                                                    3                 Professional Claims

                                                                    4                 1.     Treatment of Administrative Claims

                                                                    5           The Debtor does not believe there are any Administrative Claims applicable in

                                                                    6 chapter 9, but Administrative Claims are defined and included in the Plan in the event that

                                                                    7 the Court finds that Administrative Claims exist against the Debtor in which case such

                                                                    8 Claims will be provided for as required by chapter 9.

                                                                    9           In the event the Court finds that there are Allowed Administrative Claims against

                                                                   10 the Debtor, except to the extent that the holder of an Allowed Administrative Claim agrees

                                                                   11 to a different treatment, the Debtor shall pay to each holder of an Allowed Administrative
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                                                                   12 Claim, in full satisfaction, release, and discharge of such Allowed Administrative Claim,
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                                                                   13 Cash in an amount equal to such Allowed Administrative Claim on the later of (i) the

                                                                   14 Effective Date or (ii) the date on which such Claim becomes an Allowed Administrative

                                                                   15 Claim, or as soon thereafter as is practicable. No entities that remain unpaid assert an
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                                                                   16 Administrative Claim.

                                                                   17                 2.     Treatment of Professional Claims

                                                                   18           Pursuant to section 943(b)(3), all amounts to be paid following the Effective Date

                                                                   19 for services or expenses in the Chapter 9 Case or incident to the Plan will be paid in full.

                                                                   20           The Debtor estimates that there will be no Professional Claims as of the Effective

                                                                   21 Date, as all fees to persons for services or expenses in the case or incident to the Plan

                                                                   22 are paid in full as of the date of the hearing on Confirmation of the Plan. In the event a

                                                                   23 claimant asserts a Professional Claim, each claimant asserting a Professional Claim must

                                                                   24 present a final invoice to the Debtor on or before forty-five (45) days after the Effective

                                                                   25 Date.

                                                                   26           The Debtor, in the ordinary course of its business, and without the requirement for

                                                                   27 Bankruptcy Court approval, may pay for professional services rendered and costs

                                                                   28 incurred following the Effective Date.
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                                                                    1                 3.     Priority Claims in Chapter 9

                                                                    2           The only priority claims incorporated into chapter 9 through section 901 are those

                                                                    3 allowed under section 503(b) and entitled to priority under section 507(a)(2). The

                                                                    4 treatment of all such Administrative Claims is set forth in Sections II.A and II.B. No other

                                                                    5 kinds of priority Claims set forth in section 507 are recognized in chapter 9 cases.

                                                                    6                 4.     Deadline for the Filing and Assertion of Postpetition Claims,

                                                                    7                        Administrative Claims, and Professional Claims

                                                                    8           All proofs of Claim for Claims arising on or after the Petition Date, and

                                                                    9 requests for payment or any other means of preserving and obtaining payment of

                                                                   10 Administrative Claims that have not been paid, released, or otherwise settled, must

                                                                   11 be filed with the Bankruptcy Court and served upon the Debtor no later than thirty
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                                                                   12 (30) days before the date set for the Confirmation Hearing. This deadline does not
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                                                                   13 apply to requests for payment on a Professional Claim. Any proof of Claim for Claims

                                                                   14 arising on or after the Petition Date, or request for payment of an Administrative Claim or

                                                                   15 a Professional Claim that is not timely filed will be forever barred and holders of such
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                                                                   16 Claims shall be barred from asserting such Claims in any manner against the Debtor.

                                                                   17           C.    Classified Claims

                                                                   18           Pursuant to sections 1122 and 1123(a)(1), made applicable to chapter 9 via section

                                                                   19 901, all Claims other than Administrative Claims are classified for all purposes, including

                                                                   20 voting, confirmation, and distribution pursuant to this Plan, as follows:

                                                                   21           Class 1 – Secured Claims

                                                                   22                 Class 1A – SCE

                                                                   23           Class 2 – General Unsecured Claims

                                                                   24           Class 3 – Subordinated Claims

                                                                   25           D.    Treatment of Claims

                                                                   26                 1.     Class 1 – Secured Claims

                                                                   27                        a.       Class 1A – SCE

                                                                   28
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                                                                    1           Class 1A consists of the secured portion of the Claim asserted by SCE after the

                                                                    2 SCE Agreement. SCE’s Secured Claim is in the amount of $0, after payment of

                                                                    3 $7,875,509.68 including NEM Agreement Cure Amounts pursuant to the SCE Agreement.

                                                                    4                                  (1)   Impairment and Voting

                                                                    5           Class 1A is Unimpaired by the Plan since the treatment of this Class will not affect

                                                                    6 the legal, equitable, or contractual rights of SCE. Accordingly, this Class is not entitled to

                                                                    7 vote to accept or reject the Plan.

                                                                    8                                  (2)   Treatment

                                                                    9           SCE’s Class 1A Claim is in the amount of $0 and will receive no distributions

                                                                   10 through the Plan.

                                                                   11                  2.     Class 2 – General Unsecured Claims
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                                                                   12           Class 2 consists of the Claims listed in Exhibit 1 of the Plan Exhibits.
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                                                                   13                         a.       Impairment and Voting

                                                                   14           Class 2 is Impaired by the Plan since the treatment of this Class will affect the

                                                                   15 legal, equitable, or contractual rights of the holders of Allowed Class 2 Claims.
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                                                                   16 Accordingly, this Class is entitled to vote to accept or reject the Plan to the extent the

                                                                   17 creditor has an Allowed Claim.

                                                                   18                         b.       Treatment

                                                                   19           In full satisfaction, release and discharge of the Class 2 Claims, holders of Allowed

                                                                   20 Class 2 Claims shall receive a lump sum payment under the Plan on the Effective Date

                                                                   21 equal to its pro rata share of $9,374,526.65, which represents the lump sum payment

                                                                   22 made by the Debtor to Allowed Class 2 Claims on the Effective Date. Such an amount

                                                                   23 represents approximately 39.86% of each Class 2 Claim. The Debtor disputes the claim

                                                                   24 filed by the CPUC and pending allowance of the CPUC’s claim, the Debtor will reserve

                                                                   25 $609,748.15, an amount sufficient to pay the pro rata share to which the CPUC would be

                                                                   26 entitled if the CPUC claim were allowed in its filed amount as a Class 2 Claim. After

                                                                   27 allowance of the CPUC claim, and in accordance therewith, the Debtor will distribute

                                                                   28 funds from such reserve, if any, pro rata to holders of Allowed Class 2 Claims as required.
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                                                                    1 Additionally, the Debtor will reserve $200,000.00 in the Debtor’s Accounts to facilitate the

                                                                    2 implementation of the Plan. After all miscellaneous expenses have been paid to

                                                                    3 implement the Plan, the Debtor will distribute the remainder of the $200,000.00 in reserve

                                                                    4 funds pro rata to holders of an Allowed Class 2 Claim.

                                                                    5

                                                                    6                                          General Unsecured Claims
                                                                           Class #         Description       Insiders Impaired                    Treatment
                                                                    7                                          (Y/N)     (Y/N)
                                                                              2       General Unsecured          N         Y      General Unsecured Claims have been
                                                                    8                 Claims                                      estimated at $25,050,681.44. The exact
                                                                                      Estimated total                             amount of Class 2 Allowed Claims will not
                                                                    9                 amount of claims:                           be known until the claims process has
                                                                                      $25,050,681.44                              been completed.
                                                                   10
                                                                                                                                   Each holder of an Allowed Class 2 Claim
                                                                                                                                   will receive a pro rata share of the Debtor’s
                                                                   11                                                              Cash in hand in the Debtor’s Accounts
                                                                                                                                   after the payment of all Allowed Class 1
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                                                                   12
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                                                                                                                                   claims, Administrative Claims, Professional
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                                                                                                                                   Claims, and all Allowed Priority Claims, if
                                                                   13                                                              any exist, which are not classified.

                                                                   14                                                              The Debtor projects that General
                                                                                                                                   Unsecured Claims will receive at minimum
                                                                   15                                                              39.86% on the Effective Date from
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                                                                                                                                   payments from the Debtor’s Accounts plus
                                                                                                                                   additional funds, if any, after the allowance
                                                                   16                                                              of the CPUC’s claim and after
                                                                                                                                   miscellaneous payments to implement the
                                                                   17                                                              Plan.

                                                                   18
                                                                                         3.     Class 3 – Subordinated Claims
                                                                   19
                                                                                  Class 3 is a place holder class for subordinated claims. No subordinated claims
                                                                   20
                                                                        currently exist.
                                                                   21
                                                                                                a.       Impairment and Voting
                                                                   22
                                                                                  Class 3 is Impaired by the Plan since the treatment of this Class will affect the
                                                                   23
                                                                        legal, equitable, or contractual rights of the holders of Class 3 Claims. Accordingly, this
                                                                   24
                                                                        Class is entitled to vote to accept or reject the Plan to the extent the creditor has an
                                                                   25
                                                                        Allowed Claim.
                                                                   26
                                                                                                b.       Treatment
                                                                   27

                                                                   28
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                                                                    1              Class 3 Claims are paid only in the event that all Class 2 Claims are paid in full.

                                                                    2 The Debtor does not anticipate all Class 2 Claims to be paid in full. Therefore, in full

                                                                    3 satisfaction, release and discharge of the Class 3 Claims, holders of Class 3 Claims shall

                                                                    4 receive $0.

                                                                    5

                                                                    6 III.         ACCEPTANCE OR REJECTION; CRAMDOWN

                                                                    7              A.      Voting of Claims

                                                                    8              Each holder of an Allowed Claim classified into Classes 2 and 3 shall be entitled to

                                                                    9 vote each such Claim to accept or reject this Plan4.

                                                                   10              With respect to any Class of Impaired Claims that fails to accept this Plan, the

                                                                   11 Debtor intends to request that the Bankruptcy Court nonetheless confirm this Plan
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                                                                   12 pursuant to the so-called "cramdown" powers set forth in section 1129(b).
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                                                                   13 IV.          TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

                                                                   14              A.      Rejection of Executory Contracts and Unexpired Leases

                                                                   15              On the Effective Date, all executory contracts and unexpired leases of the Debtor
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                                                                   16 will be deemed rejected, as of the Effective Date, other than executory contracts and

                                                                   17 unexpired leases that were previously assumed, assumed and assigned, or rejected by

                                                                   18 final order of the Bankruptcy Court. The Confirmation Order will constitute an order

                                                                   19 approving the foregoing.

                                                                   20              B.      Cure Payments

                                                                   21              The Debtor does not believe that any payments are required to cure any purported

                                                                   22 default or arrears under the executory contracts and unexpired leases the Debtor plans to

                                                                   23 assume through the Plan, as the Debtor does not intend to assume any executory

                                                                   24 contracts and unexpired leases. The Bankruptcy Court shall resolve all disputes

                                                                   25 regarding: (i) the amount of any cure payment to be made in connection with the

                                                                   26

                                                                   27
                                                                             4
                                                                                 For voting purposes, the CPUC Claim shall be treated as allowed in the amount of $1,529,866.40 as a
                                                                   28 Class 2 Claim.
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                                                                    1 assumption of any executory contract or unexpired lease; (ii) the ability of the Debtor to

                                                                    2 provide “adequate assurance of future performance” within the meaning of section 365

                                                                    3 under the contract or lease to be assumed; and (iii) any other matter pertaining to such

                                                                    4 assumption and assignment. If any party to an executory contract or unexpired lease that

                                                                    5 is to be assumed by the Debtor asserts that the proposed cure payment is insufficient or

                                                                    6 some other performance is required to assume the subject executory contract or

                                                                    7 unexpired lease, such party shall file with the Bankruptcy Court and serve upon the

                                                                    8 Debtor a written statement and accompanying declaration in support thereof specifying

                                                                    9 the basis for its position and accounting for the purported amount owing under the subject

                                                                   10 executory contract or unexpired lease not later than thirty (30) days before the

                                                                   11 Confirmation Hearing. The failure to timely file and serve such a statement shall be
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                                                                   12 deemed to be a waiver of any and all objections to the proposed assumption, including,
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                                                                   13 without limitation, any objection pertaining to the adequacy of the proposed cure payment

                                                                   14 or the adequate of the assurance of prompt cure and/or of future performance.

                                                                   15           C.    Assumption of Executory Contracts and Unexpired Leases
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                                                                   16           Without the need to file any further motions, the Debtor does not elect to assume

                                                                   17 any executory contracts and unexpired leases.

                                                                   18           D.    Claims Arising from Rejection

                                                                   19           Unless otherwise agreed by the Debtor and the counterparty or counterparties to

                                                                   20 the subject executory contract or unexpired lease, proofs of Claim arising from the

                                                                   21 rejection of executory contracts or unexpired leases must be filed with the Bankruptcy

                                                                   22 Court and served on the Debtor no later than thirty (30) days after the Effective Date. The

                                                                   23 failure to properly and timely assert a rejection damages Claim pursuant to this Section

                                                                   24 IV.D. shall result in such Claim being forever barred and rendered unenforceable against

                                                                   25 the Debtor or its assets, properties, or interests in property. Unless otherwise ordered by

                                                                   26 the Bankruptcy Court, all such Claims that are timely filed as provided herein shall be

                                                                   27 classified into Class 2 (General Unsecured Claims) and treated accordingly.

                                                                   28 V.        IMPLEMENTATION AND MEANS FOR IMPLEMENTATION OF THIS PLAN
                                                                        1367667.1                                    16       PLAN FOR THE ADJUSTMENT OF DEBTS
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                                                                    1           A.    Consent Pursuant to Section 904

                                                                    2           Pursuant to and for purposes of section 904, the Debtor consents to the entry of

                                                                    3 the Confirmation Order on the terms and conditions set forth herein and to entry of any

                                                                    4 further orders as necessary or required to implement the provisions of the Plan or any and

                                                                    5 all related transactions. Provided, however, that, other than as set forth specifically herein,

                                                                    6 the terms and provisions of this Plan are without prejudice to the rights of the Debtor

                                                                    7 pursuant to section 904, and, other than as specifically set forth herein, shall not be

                                                                    8 deemed to constitute the Debtor’s consent to the Bankruptcy Court’s interference with (i)

                                                                    9 any of the governmental powers of the Debtor; (ii) any of the property or revenues of the

                                                                   10 Debtor; or (iii) the Debtor’s use or enjoyment of any income-producing property.

                                                                   11           B.    Means for Execution and Implementation of Plan
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                                                                   12           The Debtor shall make a distribution of $9,374,526.65 to Class 2 Creditors on the
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 Effective Date. Such an amount represents approximately 39.86% of Class 2 Claims.

                                                                   14           Under the Plan, the Debtor shall be required to make Cash disbursements totaling

                                                                   15 approximately $9,374,526.65 to the holders of Allowed Class 2 Claims in a lump sum
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                                                                   16 payment on the Effective Date.

                                                                   17           Additionally, the Debtor intends to make two (2) additional distributions. The Debtor

                                                                   18 is withholding $609,748.15, the full amount of the pro rata share to which the CPUC would

                                                                   19 be entitled if the CPUC claim were allowed in its filed amount as a Class 2 Claim, pending

                                                                   20 adjudication of the CPUC Claim. If the allowed amount of the CPUC claim is ultimately

                                                                   21 less than the amount withheld, the remaining funds will be distributed to Allowed Class 2

                                                                   22 Claims on a pro rata basis.

                                                                   23           The Debtor is additionally withholding $200,000.00 to pay miscellaneous expenses

                                                                   24 and other expenses relating to implementation of the Plan. After all such payments have

                                                                   25 been made, the Debtor will distribute remaining funds on a pro rata basis to Allowed Class

                                                                   26 2 Claims on a pro rata basis.

                                                                   27

                                                                   28
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                                                                    1           The Plan will be funded utilizing the Debtor’s Cash on hand from the Debtor’s

                                                                    2 Accounts. The Debtor has no continuing customers and will be providing no post-petition

                                                                    3 services. As a result, the Debtor has no other assets other than its Cash to fund the Plan.

                                                                    4           As a result, the Debtor will distribute $9,374,526.65 on the Effective Date in

                                                                    5 accordance with the Plan and will potentially make two additional distributions as

                                                                    6 described above.

                                                                    7           The Debtor intends to wind down its remaining operations and provide distribution

                                                                    8 to holders of Allowed Claims pursuant to section 1123(a)(5)(D) as specifically

                                                                    9 incorporated by section 901.

                                                                   10           Pursuant to the Plan, the Debtor shall have approximately $9,374,526.65 in cash

                                                                   11 on hand net of the reserved funds on the Effective Date. As none exist, Allowed Secured
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                                                                   12 Claims and Allowed Administrative Claims will be paid in full, along with Professional
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                                                                   13 Claims, and creditors holding Allowed Unsecured Claims will receive a distribution of at

                                                                   14 least 39.86% pending additional distributions.

                                                                   15 VI.       RESERVATION OF RIGHTS OF ACTION
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                                                                   16           Unless previously released or released under the Plan, all of the Debtor’s claims,

                                                                   17 causes of action, rights of recovery, rights of offset, rights of recoupment, rights to

                                                                   18 refunds, and similar rights shall be retained by the Debtor. The failure to list in the

                                                                   19 Disclosure Statement any potential or existing Right of Action retained by the Debtor is not

                                                                   20 intended to and shall not limit the rights of the Debtor to pursue any such action. Unless a

                                                                   21 Right of Action is expressly waived, relinquished, released, compromised, or settled (in

                                                                   22 this Plan or otherwise), the Debtor expressly reserves all Rights of Action for later

                                                                   23 adjudication and, as a result, no preclusion doctrine, including the doctrines of res

                                                                   24 judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial,

                                                                   25 equitable, or otherwise), or laches, shall apply to such Rights of Action upon or after the

                                                                   26 confirmation or consummation of this Plan or the Effective Date. In addition, the Debtor

                                                                   27 expressly reserves the right to pursue or adopt against any other entity any claims alleged

                                                                   28 in any lawsuit in which the Debtor is a defendant or an interested party.
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                                                                    1 VII.      DISTRIBUTIONS

                                                                    2           A.     Disbursing Agent

                                                                    3           On and after the Effective Date, the Debtor shall serve as disbursing agent for

                                                                    4 payments to be made under this Plan in accordance with section 944. Notwithstanding,

                                                                    5 the Debtor may retain one or more agents to perform or assist it in making distributions

                                                                    6 pursuant to this Plan, which agents may serve without bond. The Debtor may provide

                                                                    7 reasonable compensation to any such agent(s) without further notice or Bankruptcy Court

                                                                    8 approval.

                                                                    9           B.     Delivery of Distributions

                                                                   10           All distributions to any holder of an Allowed Claim shall be made at the address of

                                                                   11 such holder as set forth in the books and records of the Debtor or its agents unless (i) the
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                                                                   12 holder has designated an alternate address for payment in a proof of Claim filed with
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                                  Costa Mesa, California 92626




                                                                   13 Bankruptcy Court or (ii) specifies an alternate address on its Ballot. Any and all

                                                                   14 notifications of address changes and all address confirmations should be mailed to: Kelly

                                                                   15 Adele at Weiland Golden Goodrich LLP, 650 Town Center Drive, Suite 600, Costa Mesa,
                              Tel 714-966-1000




                                                                   16 California 92626, or kadele@wgllp.com and rbeall@wgllp.com.

                                                                   17           C.     Undeliverable Distributions

                                                                   18                  1.     Holding of Undeliverable Distributions

                                                                   19           If any distribution to a holder of an Allowed Claim is returned to the Debtor or its

                                                                   20 agent as undeliverable, no further distributions shall be made to such holder unless and

                                                                   21 until the Debtor is notified in writing of such holder’s then-current address. Unless and

                                                                   22 until the Debtor is so notified, such distribution shall be deemed to be “Unclaimed

                                                                   23 Property” and shall be set aside and held in a segregated account to be administered

                                                                   24 pursuant to Section VII.C.2.

                                                                   25                  2.     Notification and Forfeiture of Unclaimed Property

                                                                   26           Ninety (90) days after the issuance of the relevant check, all remaining Unclaimed

                                                                   27 Property and accrued interest or dividends earned thereon will be remitted to and vest in

                                                                   28 the Debtor. Additionally, such individuals and entities shall be deemed to have waived and
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                                                                    1 forfeited their right to any future payments under the Plan and such funds shall be

                                                                    2 retained by the Debtor. Notwithstanding the non-payment of any forfeited Claims, such

                                                                    3 Claims shall be deemed satisfied and discharged as if paid pursuant to the terms of the

                                                                    4 Plan.

                                                                    5           D.    Distribution of Cash

                                                                    6           Any payment of Cash to be made by the Debtor or its agent pursuant to this Plan

                                                                    7 shall be made by check drawn on a domestic bank or by wire transfer, at the sole option

                                                                    8 of the Debtor.

                                                                    9           E.    Timeliness of Payments

                                                                   10           Any payments or distributions to be made pursuant to this Plan shall be deemed to

                                                                   11 be timely made if made within fourteen (14) Business Days after the date(s) specified in
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                                                                   12 this Plan. Whenever any distribution to be made under this Plan is due on a day that is not
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                                                                   13 a Business Day, such distribution instead shall be made, without interest, on the

                                                                   14 immediately succeeding Business Day, but shall be deemed to have been made on the

                                                                   15 date due.
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                                                                   16           F.    Default and Cure

                                                                   17           The following provision shall apply except as otherwise provided for in an

                                                                   18 agreement between the Debtor and another party. In the event the Debtor fails to make

                                                                   19 any payment required under this Plan in a timely manner, the affected creditors shall

                                                                   20 serve the Debtor with a notice of default not later than thirty (30) days after the purported

                                                                   21 default along with any documentation supporting the allegation of an alleged default. Not

                                                                   22 later than sixty (60) days after receipt of the notice of default, the Debtor shall either (i)

                                                                   23 cure the default or (ii) serve the affected creditor(s) with a statement and supporting

                                                                   24 documentation contesting the allegation of default. In the event the Debtor contests an

                                                                   25 alleged default, not later than five (5) Business Days after serving a response to a

                                                                   26 purported default, the Debtor shall file a motion with the Bankruptcy Court requesting a

                                                                   27 resolution of the dispute relating to the alleged default and set the motion for hearing on

                                                                   28 the first available hearing date not sooner than fourteen (14) days after filing the motion. If
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                                                                    1 the Bankruptcy Court rules that the non-payment constitutes an event of default under the

                                                                    2 Plan, the Debtor shall cure the purported default not later than five (5) Business Days

                                                                    3 following the entry of a Final Order of the Bankruptcy Court adopting the finding with

                                                                    4 respect to the purported default.

                                                                    5           G.     Compliance with Tax Requirements

                                                                    6           Any and all distributions pursuant to the Plan shall be subject to any applicable tax

                                                                    7 withholding and reporting requirements imposed on it by any governmental unit. In

                                                                    8 connection with each distribution which requires the filing of an information return (such as

                                                                    9 Internal Revenue Service Form 1099 or 1042) or withholding, the Debtor shall file such

                                                                   10 information return with the Internal Revenue Service and provide any required statements

                                                                   11 in connection therewith to the recipients of such distribution, or effect any such withholding
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                                                                   12 and deposit all moneys so withheld to the extent required by law. With respect to any
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                                                                   13 entity from whom a tax identification number, certified tax identification number, or other

                                                                   14 tax information is required by law to avoid withholding has not been received by the

                                                                   15 Debtor at the time the Debtor is to be made, the Debtor, at its sole option, may withhold
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                                                                   16 the amount required and distribute the balance to such entity or the Debtor may decline to

                                                                   17 make such distribution(s) until the information is received.

                                                                   18           H.     Time Bar to Cash Payments

                                                                   19           Checks issued by the Debtor on account of Allowed Claims will be null and void if

                                                                   20 not negotiated with ninety (90) days from and after the date of issuance thereof. Requests

                                                                   21 for reissuance of any check shall be submitted in writing to: Ryan W. Beall at Weiland

                                                                   22 Golden Goodrich LLP, 650 Town Center Drive, Suite 600, Costa Mesa, California 92626,

                                                                   23 or via email addressed to rbeall@wgllp.com. Any request for reissuance of an expired

                                                                   24 check must be not later than one hundred and eighty (180) calendar days following the

                                                                   25 initial issuance of the subject check. After such date, the amounts stated in the voided

                                                                   26 check(s) shall be deemed forfeited and the Debtor shall retain such funds. Any amounts

                                                                   27 forfeited pursuant to the preceding sentence shall be deemed paid to and received by the

                                                                   28
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                                                                    1 subject claimant for purposes of calculating the amounts owing to such creditor under the

                                                                    2 Plan.

                                                                    3           I.     No De Minimis Distributions

                                                                    4           No payment of less than ten dollars (US$10.00) will be made by the Debtor on

                                                                    5 account of any Allowed Claim.

                                                                    6           J.     No Distributions on Account of Disputed Claims or Disallowed Claims

                                                                    7           Notwithstanding anything to the contrary in this Plan, no distributions shall be made

                                                                    8 on account of any part of any Disputed Claim or Disallowed Claim unless and until such

                                                                    9 Claim becomes an Allowed Claim and only to the extent such Claim constitutes an

                                                                   10 Allowed Claim. Distributions made after the Effective Date with respect to Claims that

                                                                   11 were not Allowed Claims as of the Effective Date, but are later determined to be Allowed
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                                                                   12 Claims, shall be deemed to have been made on time and in accordance with the terms of
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                                                                   13 the Plan.

                                                                   14           If any distributions are made prior to the resolution of a dispute pertaining to a

                                                                   15 Claim, the portion that would be payable on account of such Claim if such Claim was an
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                                                                   16 Allowed Claim, shall be held in a segregated bank account. If the Claim is subsequently

                                                                   17 adjudicated to be an Allowed Claim, the segregated funds shall be distributed to the

                                                                   18 holder of such Claim. Any interest accrued on account of the segregated funds shall be

                                                                   19 paid to and retained by the Debtor.

                                                                   20           K.     No Post-Petition Date Accrual

                                                                   21           Unless otherwise specifically provided in the Plan, specifically agreed to by the

                                                                   22 Debtor in writing, or allowed by order of the Bankruptcy Court, the Debtor will not be

                                                                   23 required to pay to any holder of a Claim any interest, penalty or late charge accruing with

                                                                   24 respect to such Claim on or after the Petition Date.

                                                                   25 VIII.     DISPUTED CLAIMS; OBJECTIONS TO CLAIMS; PROSECUTION OF

                                                                   26           OBJECTIONS TO DISPUTED CLAIMS

                                                                   27           A.     Claim Objection Deadline; Prosecution of Objections

                                                                   28
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                                                                    1           The Debtor shall have the right to object to the allowance of Claims filed with the

                                                                    2 Bankruptcy Court with respect to which liability or allowance is disputed in whole or in

                                                                    3 part. Unless otherwise ordered by the Bankruptcy Court, the Debtor shall file and serve

                                                                    4 any such objections to Claims (whether by motion or commencement of an adversary

                                                                    5 proceeding) by not later than one hundred and eighty (180) days after the Effective Date

                                                                    6 (or, in the case of Claims properly filed after the Effective Date, by not later than one

                                                                    7 hundred and eighty (180) days after the date of filing of such Claims).

                                                                    8           B.     Reserves, Payments and Distributions with Respect to Disputed

                                                                    9                  Claims

                                                                   10           At such time as a Disputed Claim becomes an Allowed Claim, in whole or in part,

                                                                   11 the Debtor or its agent shall distribute to the holder thereof the distributions, if any, to
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                                                                   12 which such holder is then entitled under the Plan in the manner set forth in the Plan. Such
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                                                                   13 distributions, if any, shall be made as soon as practicable after the date that the order or

                                                                   14 judgment of the Bankruptcy Court allowing such Claim becomes a Final Order, but in no

                                                                   15 event more than sixty (60) days thereafter, unless otherwise provided in the Plan, order of
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                                                                   16 the Bankruptcy Court, or agreement between the Debtor and the subject Claim holder.

                                                                   17 Unless otherwise specifically provided in the Plan or allowed by order of the Bankruptcy

                                                                   18 Court, no interest will be paid on Disputed Claims that later become Allowed Claims.

                                                                   19           The Debtor will reserve $609,748.15, an amount sufficient to pay the alleged pro

                                                                   20 rata share to which the CPUC would be entitled if the CPUC claim were allowed in its filed

                                                                   21 amount as a Class 2 Claim, pending allowance of the CPUC’s claim. Any funds remaining

                                                                   22 after satisfaction of the allowed CPUC claim, if any, will be distributed to holders of

                                                                   23 Allowed Class 2 Claims.

                                                                   24           Additionally, the Debtor is withholding $200,000 to pay miscellaneous expenses

                                                                   25 and other expenses relating to implementation of the Plan. After all such payments have

                                                                   26 been made, the Debtor will distribute remaining funds on a pro rata basis to Allowed Class

                                                                   27 2 Claims.

                                                                   28           C.     Newly Disputed Claims
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                                                                    1           Holders of a Newly Disputed Claim must file proofs of claim by June 2, 2022, the

                                                                    2 Newly Disputed Claims Bar Date, or the holder of such Newly Disputed Claim will be

                                                                    3 barred from asserting the Newly Disputed Claim and the Newly Disputed Claim will be

                                                                    4 disallowed and not entitled to any distribution under the Plan. A notice of Newly Disputed

                                                                    5 Claim Bar Date was filed and served on the Newly Disputed Claimants on May 2, 2022.

                                                                    6           The Newly Disputed Claims are treated as disputed and not entitled to a

                                                                    7 distribution under the Plan.

                                                                    8 IX.       EFFECT OF CONFIRMATION

                                                                    9           A.    Discharge of the Debtor

                                                                   10           Pursuant to section 944, upon the substantial consummation of this Plan, the

                                                                   11 Debtor shall be discharged from all debts (as defined in the Bankruptcy Code) of the
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                                                                   12 Debtor and Claims against the Debtor other than (i) any debt specifically and expressly
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                                                                   13 excepted from discharge by this Plan or the Confirmation Order and (ii) any debt owed to

                                                                   14 an entity that, before the confirmation of this Plan, had neither notice nor actual

                                                                   15 knowledge of the Chapter 9 Case. Substantial consummation, as defined in
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                                                                   16 section 1101(2), shall mean: (1) a transfer of all or substantially all of the property

                                                                   17 proposed by the Plan to be transferred; (2) assumption by the Debtor or by any successor

                                                                   18 to the Debtor under the Plan of the business or of the management of all or substantially

                                                                   19 all of the property dealt with by the Plan; and (3) commencement of distributions under the

                                                                   20 Plan. Substantial consummation will occur upon the final of three distributions by the

                                                                   21 Debtor or after distributions have been made and no funds remain in the Debtor Accounts.

                                                                   22 Upon substantial consummation of the Plan, the Debtor shall file with the Court and serve

                                                                   23 upon all interested parties a notice of substantial consummation of the Plan.

                                                                   24           The rights afforded in this Plan and the treatment of all holders of Claims, whether

                                                                   25 Impaired or Unimpaired, shall be in exchange for and in complete satisfaction, discharge

                                                                   26 and release of all Claims of any nature whatsoever arising on or before the Effective Date,

                                                                   27 known or unknown, including any interest accrued or expenses incurred thereon from and

                                                                   28 after the Petition Date, whether against the Debtor or any of its properties, assets or
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                                                                    1 interests in property. Except as otherwise provided herein, upon the Effective Date, all

                                                                    2 Claims against the Debtor shall be deemed satisfied, discharged, and released in full,

                                                                    3 whether Impaired or Unimpaired.

                                                                    4           B.    Injunction

                                                                    5           EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THIS PLAN, ALL

                                                                    6 ENTITIES WHO HAVE HELD, HOLD OR MAY HOLD PRE-CONFIRMATION DATE

                                                                    7 CLAIMS SHALL BE PERMANENTLY ENJOINED FROM AND AFTER THE

                                                                    8 CONFIRMATION DATE FROM: (I) COMMENCING OR CONTINUING IN ANY MANNER

                                                                    9 ANY ACTION OR OTHER PROCEEDING OF ANY KIND WITH RESPECT TO ANY

                                                                   10 SUCH PRE-CONFIRMATION DATE CLAIMS AGAINST THE DEBTOR OR ITS

                                                                   11 PROPERTY OR THE PARTNERS OR THEIR PROPERTY; (II) ENFORCING,
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                                                                   12 ATTACHING, COLLECTING, OR RECOVERING BY ANY MANNER OR MEANS ANY
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                                  Costa Mesa, California 92626




                                                                   13 JUDGMENT, AWARD, DECREE OR ORDER AGAINST THE DEBTOR OR ITS

                                                                   14 PROPERTY OR THE PARTNERS OR THEIR PROPERTY WITH RESPECT TO SUCH

                                                                   15 PRE-CONFIRMATION DATE CLAIMS; (III) CREATING, PERFECTING, OR
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                                                                   16 ENFORCING ANY LIEN OR ENCUMBRANCE OF ANY KIND AGAINST THE DEBTOR

                                                                   17 OR ITS PROPERTY OR THE PARTNERS OR THEIR PROPERTY; AND (IV)

                                                                   18 ASSERTING ANY RIGHT OF SETOFF, SUBROGATION OR RECOUPMENT OF ANY

                                                                   19 KIND AGAINST ANY OBLIGATION DUE TO THE DEBTOR OR THE PARTNERS WITH

                                                                   20 RESPECT TO ANY SUCH PRE-CONFIRMATION DATE CLAIMS.

                                                                   21           C.    Term of Existing Injunctions or Stays

                                                                   22           Unless otherwise provided, all injunctions or stays provided for in the Chapter 9

                                                                   23 Case pursuant to sections 105, 362, or 922, or otherwise, and in existence on the

                                                                   24 Confirmation Date, shall remain in full force and effect unless and until the Debtor

                                                                   25 receives a discharge in accordance with Section XI.A.

                                                                   26           D.    Exculpation

                                                                   27           Each of the following is an Exculpated Party under this Plan: the Debtor as well as

                                                                   28 its predecessors, successors, assigns and present and former affiliates and subsidiaries,
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                                                                    1 members, and each of their respective current and former officers, directors, principals,

                                                                    2 employees, shareholders, members (including ex officio members), partners, agents,

                                                                    3 financial advisors, attorneys, accountants, investment bankers, investment advisors,

                                                                    4 consultants, representatives, and other professionals, and any individual or entity claiming

                                                                    5 by or through any of them, as well as each Partner and each Partner’s predecessors,

                                                                    6 successors, assigns and present and former affiliates and subsidiaries, and each of their

                                                                    7 respective current and former officers, directors, principals, employees, shareholders,

                                                                    8 members (including ex officio members), partners, agents, financial advisors, attorneys,

                                                                    9 accountants, investment bankers, investment advisors, consultants, representatives, and

                                                                   10 other professionals, and any individual or entity claiming by or through any of them.

                                                                   11           Except with respect to obligations specifically arising pursuant to or preserved in
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                                                                   12 the Plan or the SCE Agreement, no Exculpated Party shall have or incur, and each
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                                                                   13 Exculpated Party is hereby released and exculpated from, any Claim, obligation, cause of

                                                                   14 action or liability for any Claim in connection with or arising prior to or on the Effective

                                                                   15 Date for any act taken in connection with, or related to, (i) the administration of the
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                                                                   16 Chapter 9 Case, (ii) the negotiations, pursuit, confirmation, solicitation of votes for,

                                                                   17 consummation or implementation of the Plan, (iii) the administration of the Plan or

                                                                   18 property to be distributed under the Plan, (iv) any document, release, contract, or other

                                                                   19 instrument entered into in connection with, or related to, the Plan, and/or (v) any other

                                                                   20 transaction contemplated by or entered into in connection with the Plan or entered into

                                                                   21 during the administration of the Chapter 9 Case; provided, however, that nothing shall be

                                                                   22 deemed to release or exculpate any Exculpated Party for its willful misconduct or gross

                                                                   23 negligence. In all respects, each Exculpated Party shall be entitled to reasonably rely

                                                                   24 upon the advice of counsel with respect to its duties and responsibilities pursuant to the

                                                                   25 Plan.

                                                                   26           E.     Good Faith Compromise

                                                                   27           In consideration for the distributions and other benefits provided under this Plan,

                                                                   28 the provisions of this Plan, including, without limitation, the exculpation provision
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                                                                    1 contained in Section IX.D. of this Plan, constitute a good faith compromise and settlement

                                                                    2 of all Claims, causes of action and/or controversies relating to the rights that a holder of a

                                                                    3 Claim may have with respect to the Debtor, any distributions to be made pursuant to the

                                                                    4 Plan on account of any such Claim, and any and all Claims and causes of action of any

                                                                    5 party. The entry of the Confirmation Order constitutes the Bankruptcy Court’s approval, as

                                                                    6 of the Effective Date, of the compromise or settlement of all such Claims and/or

                                                                    7 controversies and the Bankruptcy Court’s finding that all such compromises or settlements

                                                                    8 are in the best interests of the Debtor and the holders of Claims, and are fair, equitable,

                                                                    9 and reasonable.

                                                                   10 X.        RETENTION OF AND CONSENT TO JURISDICTION

                                                                   11           Following the Effective Date, and in accordance with section 945, the Bankruptcy
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                                                                   12 Court shall retain and have jurisdiction over any matter arising under the Bankruptcy Code
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                                                                   13 and relating to the Debtor and/or arising in or related to the Chapter 9 Case or this Plan or

                                                                   14 the documents filed in support thereof, including, but not limited to:

                                                                   15           1. The assumption, assumption and assignment, or rejection of any executory
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                                                                   16 contract or unexpired lease to which the Debtor is a party or with respect to which the

                                                                   17 Debtor may be liable, and to hear, determine, and, if necessary, liquidate any Claims

                                                                   18 arising therefrom;

                                                                   19           2. The entry or orders as may be necessary or appropriate to implement or

                                                                   20 consummate the provisions of this Plan, and all other contracts, settlement agreements,

                                                                   21 instruments, releases, exculpations, and other agreements or documents related to this

                                                                   22 Plan;

                                                                   23           3. Any and all motions, adversary proceedings, applications, and contested or

                                                                   24 litigated matters that may be pending on the Effective Date or that, pursuant to the Plan,

                                                                   25 may be instituted by the Debtor after the Effective Date or that are instituted by any holder

                                                                   26 of a Claim before or after the Effective Date concerning any matter based upon, arising

                                                                   27 out of, or relating to the Chapter 9 Case, whether or not such action is initially filed in the

                                                                   28 Bankruptcy Court or any other court, including, without limitation, claims objections;
                                                                        1367667.1                                     27        PLAN FOR THE ADJUSTMENT OF DEBTS
                                                                                                                                                 DATED MAY 5, 2022
                                                                   Case 6:21-bk-12821-SY        Doc 291 Filed 05/17/22 Entered 05/17/22 17:00:06            Desc
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                                                                    1           4. Distributions to holders of Allowed Claims pursuant to this Plan;

                                                                    2           5. Any objections to Claims or to proofs of Claim filed, both before and after the

                                                                    3 Effective Date, including any objections to the classification of any Claim, and motions to

                                                                    4 allow, disallow, determine, liquidate, classify, estimate or establish the priority of or

                                                                    5 secured or unsecured status of any Claim, in whole or in part;

                                                                    6           6. The entry of orders as may be appropriate in the event the Confirmation Order is

                                                                    7 for any reason stayed, revoked, modified, reversed or vacated;

                                                                    8           7. The entry of orders in aid of execution of this Plan, to the extent authorized by

                                                                    9 section 1142(b);

                                                                   10           8. Modifications to this Plan, the cure of any defect or omission, or the

                                                                   11 reconciliation any inconsistency in any order of the Bankruptcy Court, including the
Weiland Golden Goodrich LLP

                                                Fax 714-966-1002




                                                                   12 Confirmation Order;
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13           9. Disputes or controversies arising in connection with or relating to this Plan or the

                                                                   14 Confirmation Order or the interpretation, implementation, or enforcement of this Plan or

                                                                   15 the Confirmation Order or the extent of any entity’s obligations incurred in connection with,
                              Tel 714-966-1000




                                                                   16 released, enjoined, or exculpated under this Plan or the Confirmation Order;

                                                                   17           10. The issuance of injunctions, entry and implementation of other orders, or such

                                                                   18 other actions as may be necessary or appropriate to restrain interference by any entity

                                                                   19 with consummation or enforcement of this Plan;

                                                                   20           11. Any other matters that may arise in connection with or are related to this Plan,

                                                                   21 the Disclosure Statement, the Confirmation Order, or any contract, instrument, release, or

                                                                   22 other agreement or document related to this Plan or the Disclosure Statement;

                                                                   23           12. Any other matter for any purpose specified in the Confirmation Order that is not

                                                                   24 inconsistent with the Bankruptcy Code; and

                                                                   25           13. Any and all disputes or controversies arising in connection with or relating to

                                                                   26 the terms or enforcement of any relevant agreements.

                                                                   27 XI.       CONDITIONS PRECEDENT

                                                                   28           A.     Condition Precedent to Confirmation
                                                                        1367667.1                                      28        PLAN FOR THE ADJUSTMENT OF DEBTS
                                                                                                                                                  DATED MAY 5, 2022
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                                                                    1           The Plan shall not be confirmed unless and until the following conditions precedent

                                                                    2 have been satisfied or waived: (1) the Plan satisfies the requirements of section 943(b), as

                                                                    3 applicable; (2) the Debtor has received any and all authorizations, consents, regulatory

                                                                    4 approvals, rulings, no-action letters, opinions, and documents that are necessary to

                                                                    5 implement the Plan and that are required by law, regulation or order, including, but not

                                                                    6 limited to, those required under section 943(b)(6); and (3) the Bankruptcy Court enters a

                                                                    7 Confirmation Order in a form and substance satisfactory to the Debtor.

                                                                    8           B.    Conditions Precedent to Effective Date

                                                                    9           The Effective Date shall not occur and this Plan shall be of no force and effect

                                                                   10 unless or until following conditions precedent have been satisfied or waived:

                                                                   11                 1.     Confirmation Order. The Confirmation Order shall have been
Weiland Golden Goodrich LLP

                                                Fax 714-966-1002




                                                                   12 entered, shall be in full force and effect, and shall be a Final Order.
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13                 2.     Plan Documents. All agreements and instruments contemplated by,

                                                                   14 or to be entered into pursuant to, this Plan shall be in form and substance acceptable to

                                                                   15 the Debtor and shall have been duly and validly executed and delivered, or deemed
                              Tel 714-966-1000




                                                                   16 executed by the parties thereto, and all conditions to their effectiveness shall have been

                                                                   17 satisfied or waived.

                                                                   18                 3.     Timing. The Effective Date shall occur on the first Business Day after

                                                                   19 which the conditions set forth in Section XI.B are satisfied or waived.

                                                                   20           C.    Waiver of Conditions Precedent to Effective Date

                                                                   21           The Debtor may waive in whole or in part any condition to the Effective Date of this

                                                                   22 Plan or the payment of any Claim on or as soon as practicable after the Effective Date.

                                                                   23 Any such waiver of a condition may be affected at any time, without notice or leave or

                                                                   24 order of the Bankruptcy Court and without any formal action, other than the filing of a

                                                                   25 notice of such waiver with the Bankruptcy Court.

                                                                   26           D.    Effect of Failure of Conditions

                                                                   27           In the event that the conditions to the Effective Date of this Plan have not been

                                                                   28 timely satisfied or waived, and upon notification submitted by the Debtor to the Bankruptcy
                                                                        1367667.1                                     29        PLAN FOR THE ADJUSTMENT OF DEBTS
                                                                                                                                                 DATED MAY 5, 2022
                                                                   Case 6:21-bk-12821-SY        Doc 291 Filed 05/17/22 Entered 05/17/22 17:00:06          Desc
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                                                                    1 Court, (i) the Confirmation Order shall be vacated, (ii) no distributions under this Plan shall

                                                                    2 be made, (iii) the Debtor and all holders of Claims shall be restored to the status quo ante

                                                                    3 as of the day immediately preceding the Confirmation Date as though the Confirmation

                                                                    4 Date never occurred, and (iv) all of the Debtor’s obligations with respect to the Claims

                                                                    5 shall remain unchanged and nothing contained herein shall be deemed to constitute a

                                                                    6 waiver or release of any Claims by or against the Debtor or any other entity or to prejudice

                                                                    7 in any manner the rights, remedies, or claims of the Debtor or any entity in any further

                                                                    8 proceeding involving the Debtor.

                                                                    9           E.    No Admission of Liability

                                                                   10           The Plan constitutes a settlement and compromise between and among the Debtor

                                                                   11 and various parties. The Plan shall not be deemed an admission or concession with
Weiland Golden Goodrich LLP

                                                Fax 714-966-1002




                                                                   12 respect to any factual or legal contention, right, defense, or position taken by the Debtor.
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 XII.      MISCELLANEOUS PROVISIONS

                                                                   14           A.    Severability

                                                                   15           If any term or provision of this Plan is held by the Bankruptcy Court or any other
                              Tel 714-966-1000




                                                                   16 court of competent jurisdiction to be invalid, void, or unenforceable, the Bankruptcy Court,

                                                                   17 in each such case at the election of and with the consent of the Debtor, shall have the

                                                                   18 power to alter and interpret such term or provision to make it valid or enforceable to the

                                                                   19 maximum extent practicable, consistent with the original purpose of the term or provision

                                                                   20 held to be invalid, void, or unenforceable, and such term or provision shall then be

                                                                   21 applicable as altered or interpreted. Notwithstanding any such holding, alteration, or

                                                                   22 interpretation, the remainder of the terms and provisions of this Plan shall remain in full

                                                                   23 force and effect and shall in no way be affected, impaired, or invalidated by such holding,

                                                                   24 alteration, or interpretation. The Confirmation Order shall constitute a judicial

                                                                   25 determination and shall provide that each term and provision of this Plan, as it may have

                                                                   26 been altered or interpreted in accordance with the foregoing, is valid and enforceable

                                                                   27 pursuant to its terms.

                                                                   28           B.    Governing Law
                                                                        1367667.1                                     30        PLAN FOR THE ADJUSTMENT OF DEBTS
                                                                                                                                                 DATED MAY 5, 2022
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                                                                    1           Except to the extent that the Bankruptcy Code or other federal law is applicable,

                                                                    2 the rights, duties, and obligations arising under this Plan shall be governed by and

                                                                    3 construed and enforced in accordance with the laws of the State of California, without

                                                                    4 giving effect to principles of conflicts of laws.

                                                                    5           C.     Good Faith

                                                                    6           Confirmation of the Plan shall constitute a conclusive determination that: (a) the

                                                                    7 Plan, and all the transactions and settlements contemplated thereby, have been proposed

                                                                    8 in good faith and in compliance with all applicable provisions of the Bankruptcy Code and

                                                                    9 the Bankruptcy Rules; and (b) the solicitation of acceptances or rejections of the Plan has

                                                                   10 been in good faith and in compliance with all applicable provisions of the Plan, the

                                                                   11 Bankruptcy Code, and the local bankruptcy rules, and, in each case, the Debtor has acted
Weiland Golden Goodrich LLP

                                                Fax 714-966-1002




                                                                   12 in good faith in connection therewith.
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13           D.     Effectuating Documents and Further Transactions

                                                                   14           Each of the officials and employees of the Debtor is authorized to execute, deliver,

                                                                   15 file, or record such contracts, instruments, releases, indentures, and other agreements or
                              Tel 714-966-1000




                                                                   16 documents and take such actions as may be necessary or appropriate to effectuate and

                                                                   17 further evidence the terms and provisions of this Plan.

                                                                   18           E.     Acceleration of Payments

                                                                   19           The Debtor in its sole and absolute discretion may accelerate the payment(s) of

                                                                   20 any or all of the payments required under the Plan without the need for further order of the

                                                                   21 Bankruptcy Court. The accelerated payment of any Claim pursuant to this provision shall

                                                                   22 not result in any pre-payment penalty or premium or any additional liability for the Debtor.

                                                                   23           F.     Delivery of Notices

                                                                   24           Unless otherwise provided herein, any and all notices required under this Plan shall

                                                                   25 be delivered to counsel for the Debtor via email addressed to rbeall@wgllp.com and

                                                                   26 dgoodrich@wgllp.com and by U.S. Mail, postage prepaid, addressed to:

                                                                   27                                   Western Community Energy
                                                                                                          c/o David M. Goodrich
                                                                   28                                  Weiland Golden Goodrich LLP
                                                                        1367667.1                                   31      PLAN FOR THE ADJUSTMENT OF DEBTS
                                                                                                                                                   DATED MAY 5, 2022
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                            650 Town Center Drive, Suite 600
                                               Costa Mesa, California 92626

A true and correct copy of the foregoing document entitled (specify):         Plan For The Adjustment Of Debts Of
Western Community Energy will be served or was served (a) on the judge in chambers in the form and manner required
by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
May 17, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) May 17, 2022, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

United States Trustee (RS)                                                        River City Bank
3801 University Avenue, Suite 720                                                 2485 Natomas Park Drvie
Riverside, CA 92501-3200                                                          Riverside, CA 95833-2975

Securities and Exchange Commission                                                Southern California Edison
444 South Flower Street, Suite 900                                                Energy Contract Management
Los Angeles, CA 90071                                                             2244 Walnut Grove Ave.
                                                                                  Rosemead, CA 91770-3714

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) May 17, 2022, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

SERVED BY OVERNIGHT MAIL
Honorable Scott H. Yun
United States Bankruptcy Court
Central District of California
3420 Twelfth Street, Suite 345 / Courtroom 302
Riverside, CA 92501-3819
                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 5/17/2022                      Gloria Estrada
 Date                           Printed Name                                                    Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
Ryan W Beall rbeall@lwgfllp.com,
vrosales@wgllp.com;kadele@wgllp.com;lbracken@wgllp.com;rbeall@ecf.courtdrive.com
Abram Feuerstein abram.s.feuerstein@usdoj.gov
Beth Gaschen bgaschen@wgllp.com,
kadele@wgllp.com;cbmeeker@gmail.com;cyoshonis@wgllp.com;lbracken@wgllp.com;bgaschen@ecf.courtdrive.com;ge
strada@wgllp.com
Seth Goldman seth.goldman@mto.com
David M Goodrich dgoodrich@wgllp.com,
kadele@wgllp.com;lbracken@wgllp.com;wggllp@ecf.courtdrive.com;gestrada@wgllp.com
Everett L Green everett.l.green@usdoj.gov
Anna Gumport agumport@sidley.com, laefilingnotice@sidley.com;anna-gumport-6608@ecf.pacerpro.com
Chad V Haes chaes@marshackhays.com,
chaes@ecf.courtdrive.com;cmendoza@ecf.courtdrive.com;cmendoza@marshackhays.com;kfrederick@ecf.courtdrive.co
m
Brian D Huben hubenb@ballardspahr.com, carolod@ballardspahr.com
Mark T Jessee jesseelaw@aol.com, marktjessee@gmail.com
Lindsey E Kress lkress@lockelord.com, hayli.holmes@lockelord.com
Peter W Lianides plianides@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com
Richard A Marshack rmarshack@marshackhays.com,
lbuchananmh@ecf.courtdrive.com;rmarshack@ecf.courtdrive.com
Ali Matin ali.matin@usdoj.gov, carolyn.k.howland@usdoj.gov
Candace J Morey candace.morey@cpuc.ca.gov
David L. Neale dln@lnbyg.com
Valerie Bantner Peo vbantnerpeo@buchalter.com
Cameron C Ridley Cameron.Ridley@usdoj.gov
Bradley R Schneider bradley.schneider@mto.com
Jason D Strabo jstrabo@mwe.com, cgreer@mwe.com
United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov
Joseph M VanLeuven joevanleuven@dwt.com, katherinehardee@dwt.com;pdxdocket@dwt.com
Marc J Winthrop mwinthrop@wghlawyers.com, jmartinez@wghlawyers.com
Robert J Wood robert.wood@rivercitybank.com
Nahal Zarnighian zarnighiann@ballardspahr.com

SERVED BY E-MAIL
Jonathan Gilhen - Jonathan.Gilhen@powerex.com
Jay Ratzlaff - jay.ratzlaff@powerex.com

SERVED BY UNITED STATES MAIL:
(p)SOUTHERN CALIFORNIA EDISON COMPANY                                             New York, NY 10019-6801
1551 W SAN BERNARDINO ROAD
COVINA CA 91722-3407                                                              California Independent System Operator Corpo
                                                                                  California ISO, attn: Dan Shonkwiler, Es
River City Bank                                                                   P.O. Box 639014
c/o Boutin Jones Inc.                                                             Folsom, CA 95763-9014
Thomas G. Mouzes
Mark Gorton                                                                       Calpine Energy Solutions, LLC
555 Capitol Mall, Suite 1500                                                      Attn: W. Steven Bryant, Locke Lord LLP
Sacramento, CA 95814-4603                                                         600 Congress Avenue, Ste. 2200
                                                                                  Austin, TX 78701-3055
ACES
4140 West 99th Street                                                             Enersponse, Inc.
Carmel, IN 46032-7731                                                             Attn: Emily McPhail
                                                                                  2901 West Coast Highway, Suite 200
Barclays Bank PLC                                                                 Newport Beach, CA 92663-4045
Attn: Kelly McDonald
745 Seventh Avenue                                                                Morgan Stanley Capital Group
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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Attn: Commodities Department                                                      Collections Support Bureau, MIC: 55
1585 Broadway, 3rd Floor                                                          PO Box 942879
New York, NY 10036-8293                                                           Sacramento, CA 94279-0001

Nextera Energy Marketing, LLC                                                     Calpine Energy Solutions
Attn: Mark Palanchian                                                             Attn: Josh Brock
700 Universe Blvd.                                                                401 W A Street, #500
North Palm Beach, FL 33408-2657                                                   San Diego, CA 92101-7991

Exelon Generation Company, LLC                                                    EES Consulting
c/o Ballard Spahr LLP                                                             Attn: Gary Saleba
2029 Century Park East                                                            1601 Carmen Drive, Suite 215H
Suite 1400                                                                        Camarillo, CA 93010-3105
Los Angeles, CA 90067-2915
                                                                                  Endersponse, Inc.
Best Best & Krieger LLP                                                           Attn: Emily McPhail
3390 University Avenue, 5th Floor                                                 2901 West Coast Highway, Suite 200
Riverside, CA 92501-3369                                                          Newport Beach, CA 92663-4045

California Public Utilities Commission                                            Matthew Summers
505 Van Ness Ave.                                                                 Ballard Spahr LLP
San Francisco, CA 94102-3298                                                      919 N. Market Street, 11th Floor
                                                                                  Wilmington, DE 19801-3023
Constellation
1310 Point Street, 8th Floor                                                      NRG Power Marketing LLC
Baltimore, MD 21231-3380                                                          c/o ContractAdmin
                                                                                  804 Carnegie Center
Elk Hills Power, LLC                                                              Princeton NJ 08540-6023
Valerie Bantner Peo, Esq.
Buchalter PC                                                                      OneEnergy, Inc.
425 Market St., Suite 2900                                                        Attn: Bill Eddie
San Francisco, CA 94105                                                           2003 Western Avenue, Suite 225
                                                                                  Seattle, WA 98121-2178
Exelon Generation Company, LLC
1310 Point Street                                                                 River City Bank
8th Floor                                                                         2485 Natomas Park Drvie
Baltimore, MD 21231-3380                                                          Riverside, CA 95833-2975

NRG Power Marketing LLC                                                           Shell Energy North America (USA)
Attn: Joseph A. Holtman                                                           Contract North America
804 Cernegie Center                                                               1000 Main Street, Level 12
Princeton, NJ 08540-6023                                                          Houston, TX 77002-6336

OhmConnect, Inc.                                                                  The Energry Authority, Inc.
Attn: Matt Duesterberg                                                            Attn: Daren Anderson
610 16th Street, Suite M20                                                        301 W. Bay Street, Suite 2600
Oakland, CA 94612-1282                                                            Jacksonville, FL 32202-5103

Pilot Power Group, LLC                                                            Western Riverside Council of Governments
8910 University Center Lane, Suite 520                                            3390 University Avenue Suite 200
San Diego, CA 92122-1026                                                          Riverside, CA 92501-3314

Riverside Division                                                                PIP Printing
3420 Twelfth Street,                                                              4093 Market Street
Riverside, CA 92501-3819                                                          Riverside, CA 92501-3542

California Dept. of Tax and Fee Administration                                    River City Bank
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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c/o Thomas G. Mouzes
Boutin Jones Inc.                                                                 Tullett Prebon Americas Corp.
555 Capitol Mall, Suite 1500                                                      32123 Lindero Canyon Road
Sacramento, CA 95814-4603                                                         Westlake Village, CA 91361-4204
                                                                                  MAIL RETURNED 9/2/21
United States Trustee (RS)
3801 University Avenue, Suite 720                                                 Pilot Power Group, Inc.
Riverside, CA 92501-3255                                                          Attn: Contract Administration
                                                                                  8910 University Center Lane, Suite
Pacific Gas and Electric Company                                                  San Diego, CA 92122-1026
Attn: Ted Yuba                                                                    MAIL RETURNED 9/24/21
245 Market Street
San Francisco, CA 94105-1702                                                      Pilot Power Group
                                                                                  AttN: Denis Vermette
Pioneer Community Energy                                                          8910 University Center Lane
804 Carnegie Ctr.                                                                 San Diego, CA 92122-1026
Princeton, NJ 08540-6023                                                          MAIL RETURNED 03/10/21

Public Utilities Commission of the State of California                            Elk Hills Power
Public Utilities Commission                                                       4026 Sky Line Road
Attention: Aaron Jacobs-Smith                                                     PO Box 460
505 Van Ness Avenue                                                               Tupman, CA 93276-0460
San Francisco, CA 94102-3214                                                      RETURNED MAIL 7/12/21

Shell Energy North America (US), L.P.                                             BP Energy Company
c/o Shell Oil Company                                                             Attn: Rob H. Gorski
Attn: Bankruptcy & Credit                                                         201 Helios Way
150 N. Dairy Ashford Rd.                                                          Houston, TX 77079-2678
Houston, TX 77079-1115                                                            MAIL RETURNED 4/19/22

The Creative Bar                                                                  PFM Financial Advisors, LLC
Attn: Justine Lawler                                                              601 S. Figueroa Street
38750 Sky Canyon Drive, Suite C                                                   Suite 4500
Murrieta, CA 92563-2564                                                           Los Angeles, CA 90017-5703
                                                                                  MAIL RETURNED 05/16/22
WRCOG
3390 University Ave., Suite 200                                                   Barclays Bank PLC
Riverside, CA 92501-3314                                                          Attn: Cassandra Bolz
                                                                                  1301 6th Avenue
PowerEx Corp., Attn: Mgr. Contracts                                               New York, NY 10019-6022
666 Burrard Street, Suite 1300                                                    MAIL RETURNED 05/16/22
Vancouver, BC V6c 2X8
Canada

Powerex Corp., dba in CA as Powerex Energy
Attn: Manager, Contracts
1300 - 666 Burrard Street
Vancouver BC V6C2X8

TransAlta
110-12 Avenue SW
Calgary, Alberta T2P 2MI
Canada

TransAlta Energy Marketing (U.S.) Inc.
110 - 12 Avenue SW
Calgary, AB T2R0G7
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
